

People v Bynum (2025 NY Slip Op 50633(U))



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People v Bynum (Tyreik)


2025 NY Slip Op 50633(U)


Decided on April 11, 2025


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 11, 2025
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : WAVNY TOUSSAINT, P.J., MARINA CORA MUNDY, JOANNE D. QUIÑONES, JJ



2023-266 K CR

The People of the State of New York, Respondent,
againstTyreik Bynum, Appellant. 




Appellate Advocates (Russ Altman-Merino of counsel), for appellant.
Kings County District Attorney (Leonard Joblove and Melissa Owen of counsel), for respondent.

Appeal from a judgment of the Criminal Court of the City of New York, Kings County (Michael Kitsis, J.), rendered December 8, 2022. The judgment convicted defendant, upon a plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposed sentence.




ORDERED that the judgment of conviction is modified, on the law and as a matter of discretion in the interest of justice, by vacating the imposition of a mandatory surcharge and fees; as so modified, the judgment of conviction is affirmed.
"As consented to by the People, and pursuant to the exercise of our interest of justice jurisdiction, we modify the judgment by vacating the surcharge and fees imposed on the defendant at sentencing (see CPL 420.35 [2-a] [c]; People v Jaaber, 223 AD3d 685 [2024])" (People v Bynum, 225 AD3d 781, 781-782 [2024]; see People v Ortega, 228 AD3d 784 [2024]; People v Thompson, 225 AD3d 713 [2024]; People v Cabrera, 222 AD3d 878 [2023]; People v Peacock, 216 AD3d 1181 [2023]).
TOUSSAINT, P.J., MUNDY and QUIÑONES, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: April 11, 2025









